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                     N        UNITED STATES DISTRICT COURT
   THOMA.SDG . BRUTOC O U R T
           ISTRIC T           NORTHERN DISTRICT OF ILLINOIS
CLERK, U.S
                                    EASTERN DIVISION
                                                         1:24-cr-00190
                                                         Judge Sharon Johnson Coleman
   UNITED STATES OF AMERICA                       ) No. Magistrate Judge Jeffrey T. Gilbert
                                                  )      Random / Cat. 4
           v.                                     ) Violation: Title 18, United States
                                                  ) Code, Section 2314
   RICHARD BRENDAN GLOBENSKY                      )
                                                  )

           The UNITED STATES ATTORNEY charges:

           Beginning in or around 2009, and continuing until in or around 2022, at

   Augusta, in the Northern District of Georgia, and elsewhere,

                            RICHARD BRENDAN GLOBENSKY,

   defendant herein, caused to be transported and transferred in interstate commerce

   goods, wares, and merchandise of the value of $5,000 or more, namely, millions of

   dollars’ worth of Masters golf tournament merchandise and historical memorabilia

   taken from Augusta National Golf Club in Augusta, Georgia, and transported to

   Tampa, Florida, knowing the same had been stolen, converted and taken by fraud;

           In violation of Title 18, United States Code, Section 2314.
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                          FORFEITURE ALLEGATION

      The UNITED STATES ATTORNEY alleges:

      1.     Upon conviction of an offense in violation of Title 18, United States Code,

Section 2314, as set forth in this information, defendant shall forfeit to the United

States of America any property which constitutes and is derived from proceeds

traceable to the offense, including a personal money judgment, as provided in Title

18, United States Code, Sections 981(a)(1)(C) and 982(a)(3) and Title 28, United

States Code, Section 2461(c).

      2.     If any of the property described above, as a result of any act or omission

by a defendant: cannot be located upon the exercise of due diligence; has been

transferred or sold to, or deposited with, a third party; has been placed beyond the

jurisdiction of the Court; has been substantially diminished in value; or has been

commingled with other property which cannot be divided without difficulty, the

United States of America shall be entitled to forfeiture of substitute property, as

provided in Title 21, United States Code, Section 853(p).




                                                                 Digitally signed by SARAH
                                        SARAH STREICKER STREICKER
                                        ________________________________
                                                        Date: 2024.04.10 10:21:24 -05'00'


                                        Signed by Sarah Streicker
                                        on behalf of the
                                        ACTING UNITED STATES ATTORNEY




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